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                                                    EXHIBIT 1
                                                                                        EXHIBIT 1
6/25/2018                     Case           More Than Sexy: Conundrums
                                         1:18-cv-01552-RJL              Faced by Feminists
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    More Than Sexy: Conundrums Faced by Feminists in Porn

    August 3 @ 9:00 am - 10:30 am

    How do you deal with sexism, when it’s your job to be sexy? How do feminists in porn deal with issues around propagating harmful stereotypes, unhealthy power
    dynamics, and body image? What do women in porn believe are their most effective tools for empowering themselves and others, and where are they still falling
    short? Hear personal narratives from different parts of the porn industry as they discuss their experiences of sexism and sexual liberation.



     ACTION=TEMPLATE&TEXT=MORE+THAN+SEXY%3A+CONUNDRUMS+FACED+BY+FEMINISTS+IN+PORN&DATES=20180803T090000/20180803T103000&DETAILS=HOW+DO+



                + ICAL EXPORT (HTTPS://WWW.SEXUALFREEDOMSUMMIT.ORG/WORKSHOP/MORE-THAN-SEXY-CONUNDRUMS-FACED-BY-FEMINISTS-IN-PORN/?
                                                               ICAL=1&TRIBE_DISPLAY=)




            Details                                                        Venue                                                  Presenters
            Date:                                                          Plaza III                                              Jupiter’s Slut
            August 3 (2018-08-03)                                          (https://www.sexualfreedomsummit.org/v                 (https://www.sexualfreedomsummit.org/p
            Time:                                                          enue/plaza-iii/)                                       resenter/jupiters-slut/)
            9:00 am - 10:30 am
                                                                                                                                  Jet Setting Jasmine
            Workshop Category:                                                                                                    (https://www.sexualfreedomsummit.org/p
            Sex As Work
                                                                                                                                  resenter/jet-setting-jasmine/)
            (https://www.sexualfreedomsummit.org/w
            orkshops/category/sex-as-work/)                                                                                       Jessica Drake
                                                                                                                                  (https://www.sexualfreedomsummit.org/p
                                                                                                                                  resenter/jessica-drake/)




    Related Workshops




    (https://www.sexualfreedomsummit.org/workshop/sex-              (https://www.sexualfreedomsummit.org/workshop/capita   (https://www.sexualfreedomsummit.org/workshop/crimin
    work-and-disability-shifting-the-focus-to-disabled-sex-         lism-is-not-consensual-sex-work-and-the-shaky-         alization-of-sex-work-is-a-human-rights-violation-and-a-
    workers/)                                                       foundations-of-consent/)                               labor-rights-concern/)



https://www.sexualfreedomsummit.org/workshop/more-than-sexy-conundrums-faced-by-feminists-in-porn/                                                                                        1/3
6/25/2018                       Sex Work and Disability: Shifting
                          Case 1:18-cv-01552-RJL                  the Focus to Disabled
                                                               Document        11-1 Sex    Workers
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    Sex Work and Disability: Shifting the Focus to Disabled Sex Workers

    August 3 @ 10:45 am - 12:15 pm

    When we talk about sex work and disability, we almost always discuss the disabled people (mostly men) who pay for sex workers’ services. It is rare that we discuss
    disabled sex workers or even consider their existence.

    Using unpublished first-hand accounts from the above-mentioned study as well as published first-person memoir, this session will shift the focus of conversations
    about sex work and disability to disabled people who trade sex, thereby shifting the dialogue from consumers’ desires to workers’ rights. The session will address
    how the trope of disabled client-abled worker came to be and why it is a harmful one. The core topics will be the multidirectional relationship between disability and
    trading sex; the intersectional stigmas disabled sex workers of different races, genders, and sexualities face; and the numerous difficulties they navigate in
    accessing housing, healthcare, education and alternative employment.

    Finally, the session will present talking points about sex work and disability that attendees can take into their own spaces and communities, as well as strategies for
    advocacy and direct action in support of disabled sex workers in various spaces. For example, we will discuss how to advocate against university policies that
    prohibit students from doing sex work (a particularly attractive option for student-workers whose disabilities include symptoms like fatigue) and how to create
    accessible classroom environments for disabled students, sex working students, and those at the intersection– even if you’re a fellow student.


           + GOOGLE CALENDAR (HTTPS://WWW.GOOGLE.COM/CALENDAR/EVENT?ACTION=TEMPLATE&TEXT=SEX+WORK+AND+DISABILITY%3A+SHIFTING+THE+FOCUS+T
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      ABLED+WORKER+CAME+TO+BE+AND+WHY+IT+IS+A+HARMFUL+ONE.+THE+CORE+TOPICS+WILL+BE+THE+MULTIDIRECTIONAL+RELATIONSHIP+BETWEEN+DISABILITY




      + ICAL EXPORT (HTTPS://WWW.SEXUALFREEDOMSUMMIT.ORG/WORKSHOP/SEX-WORK-AND-DISABILITY-SHIFTING-THE-FOCUS-TO-DISABLED-SEX-WORKERS/?
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            Details                                               Venue                                                    Presenter
            Date:                                                 Beech B                                                  Emily Dall’Ora Warfield
            August 3 (2018-08-03)
                                                                  (https://www.sexualfreedomsummit.org/v                   (https://www.sexualfreedomsummit.org/p
            Time:                                                 enue/beech-b/)                                           resenter/emily-dallora-warfield/)
            10:45 am - 12:15 pm
            Workshop Categories:
            Sex As Work
            (https://www.sexualfreedomsummit.org/w
            orkshops/category/sex-as-work/),
            Sexuality and Disability
            (https://www.sexualfreedomsummit.org/w
            orkshops/category/sexuality-and-
            disability/)




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                          Case         is Not Consensual: Sex Work
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                                                               Document          Foundations
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    Capitalism is Not Consensual: Sex Work and the Shaky Foundations of Consent

    August 3 @ 2:45 pm - 4:15 pm

    This session will look at the history of consent, rape-able bodies, and how the modern concepts of sexual consent have been built upon structures rooted in
    property, capitalism and criminalization, and how they have consistently marginalized women of color, LGBTQ communities and criminalized populations. As we
    often center the conversation on consent along the lines of victim/perpetrator, rarely we questioned how those notions are constructed, and what that means for a
    common understanding of what justice looks like. This presentation will begin in the historical context about concepts of who has been allowed to declare consent
    for access to their bodies, briefly touching on the different ways those boundaries were violated. Moving briefly through the history, which includes more
    communities than those selling sex, the modern construct will focus on the sex trade, and how sex workers complicate the current narratives of consent, sexual
    violence and criminal-justice-focused responses. Finally, participants will look at elements of restorative justice and alternative models to see how communities are
    inverting these paradigms to better serve their healing. Participants will be asked to break into small groups to discuss how these concepts manifest in their own
    experiences, and how to integrate a broader understanding of justice into their communities.



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      + ICAL EXPORT (HTTPS://WWW.SEXUALFREEDOMSUMMIT.ORG/WORKSHOP/CAPITALISM-IS-NOT-CONSENSUAL-SEX-WORK-AND-THE-SHAKY-FOUNDATIONS-OF-
                                                       CONSENT/?ICAL=1&TRIBE_DISPLAY=)




            Details                                               Venue                                                   Presenter
            Date:                                                 Dogwood                                                 Kate D’Adamo
            August 3 (2018-08-03)
                                                                  (https://www.sexualfreedomsummit.org/v                  (https://www.sexualfreedomsummit.org/p
            Time:                                                 enue/dogwood/)                                          resenter/kate-dadamo/)
            2:45 pm - 4:15 pm
            Workshop Category:
            Sex As Work
            (https://www.sexualfreedomsummit.org/w
            orkshops/category/sex-as-work/)




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    Criminalization of Sex Work is a Human Rights Violation and a Labor Rights Concern

    August 3 @ 4:30 pm - 6:00 pm

    This session will discuss the various ways sex workers are criminalized under both prostitution and sex trafficking legislation and the outcomes it has for the every
    day lives of those who engage in sex work. This presentation directly addresses the rights to housing, health care, safety, and dignity for sex workers regardless of
    race, class, substance use, and sexual or gender orientation. This session will inform on the better practices and policies for both sex workers and sex trafficking
    victims and explain the benefits of a future in which sex workers may lead the fight against sex trafficking instead of becoming its casual victims.



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                                                   RIGHTS-CONCERN/?ICAL=1&TRIBE_DISPLAY=)




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            Date:                                                      Dogwood                                                   Isobel Connors
            August 3 (2018-08-03)                                      (https://www.sexualfreedomsummit.org/v                    (https://www.sexualfreedomsummit.org/p
            Time:                                                      enue/dogwood/)                                            resenter/isobel-connors/)
            4:30 pm - 6:00 pm
                                                                                                                                 Website:
            Workshop Category:                                                                                                   https://projectsafephilly.org/
            Sex As Work                                                                                                          (https://projectsafephilly.org/)
            (https://www.sexualfreedomsummit.org/w
            orkshops/category/sex-as-work/)




    Related Workshops




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    than-sexy-conundrums-faced-by-feminists-in-porn/)           work-and-disability-shifting-the-focus-to-disabled-sex-   lism-is-not-consensual-sex-work-and-the-shaky-
                                                                workers/)                                                 foundations-of-consent/)




https://www.sexualfreedomsummit.org/workshop/criminalization-of-sex-work-is-a-human-rights-violation-and-a-labor-rights-concern/                                                     1/3
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    Avoiding Harm When You Need an Ambulance

    August 4 @ 10:45 am - 12:15 pm

    Calling 911 in an emergency is especially perilous for sex workers who can face arrest and prosecution if they come into contact with Police. Yet few, if any, would
    consider not calling for aid if anyone needed it. This places sex workers in the dilemma of either protecting themselves or helping others. We will discuss what
    calling 911 means, and how to navigate the process while protecting yourself and your privacy.



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            Details                                                    Venue                                                     Presenter
            Date:                                                      Beech B                                                   Dimitri Willert
            August 4 (2018-08-04)
                                                                       (https://www.sexualfreedomsummit.org/v                    (https://www.sexualfreedomsummit.org/p
            Time:                                                      enue/beech-b/)                                            resenter/dimitri-willert/)
            10:45 am - 12:15 pm

            Workshop Category:
            Sex As Work
            (https://www.sexualfreedomsummit.org/w
            orkshops/category/sex-as-work/)




    Related Workshops




    (https://www.sexualfreedomsummit.org/workshop/more-         (https://www.sexualfreedomsummit.org/workshop/sex-        (https://www.sexualfreedomsummit.org/workshop/capita
    than-sexy-conundrums-faced-by-feminists-in-porn/)           work-and-disability-shifting-the-focus-to-disabled-sex-   lism-is-not-consensual-sex-work-and-the-shaky-
                                                                workers/)                                                 foundations-of-consent/)
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    Feminists in Porn                                           Sex Work and Disability: Shifting the Focus               Capitalism is Not Consensual: Sex Work and
    (https://www.sexualfreedomsummit.org/wor                    to Disabled Sex Workers                                   the Shaky Foundations of Consent
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6/25/2018                               Courting and Whoring:
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    Courting and Whoring: Balancing Work and Play

    August 4 @ 2:45 pm - 4:15 pm

    As sex workers, especially those of us who are additionally marginalized, dating can be complicated. There are so many things in a relationship that can be
    negatively affected by our careers in ways that non-sex workers’ aren’t. Dating, especially when you’re new to it, can be a minefield.

    This workshop aims to cover some of the major hurdles faced by sex workers trying to date, as well as provide some tips for how to support a sex worker that you’re
    in a relationship with. It will cover topics such as:

    -Writing an online dating profile that keeps you safe (both from clients who see it and people you don’t want to know you’re a sex worker)
    -Thoughts on how/when to disclose your work
    -Monogamy and sex work
    -Balancing your partner’s expectations of what dating a sex worker will look like versus your wants and needs when off the clock
    -A special focus on discussing things you’ll do with your clients but not your partners
    -Help, I fell in love with a client! Now what?
    -Name, work, and interests – how your partner should talk about you with their friends/family
    -Supporting the sex workers in your life
    -And more!

    There will be plenty of time for audience discussion and questions and, when possible, will focus on how these topics affect more marginalized sex workers.

    *This is open to sex workers and people who date us*



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     SEX+WORKERS%E2%80%99+AREN%E2%80%99T.+DATING%2C+ESPECIALLY+WHEN+YOU%E2%80%99RE+NEW+TO+IT%2C+CAN+BE+A+MINEFIELD.+%0ATHIS+WORKSHO
                                                           WRITING+AN+ONLINE+DATING+PROFILE+THAT+KEEPS+YOU+SAFE+%28BOTH+FROM+CLIENTS
                                                            BALANCING+YOUR+PARTNER%E2%80%99S+EXPECTATIONS+OF+WHAT+DATING+A+SEX+WORK
                                HELP%2C+I+FELL+IN+LOVE+WITH+A+CLIENT%21+NOW+WHAT%3F+%28VIEW+FULL+WORKSHOP+DESCRIPTION+HERE%3A+HTTPS



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            Details                                                   Venue                                               Presenter
            Date:                                                     Dogwood                                             Taylor J Mace
            August 4 (2018-08-04)
                                                                      (https://www.sexualfreedomsummit.org/v              (https://www.sexualfreedomsummit.org/p
            Time:                                                     enue/dogwood/)                                      resenter/taylor-j-mace/)
            2:45 pm - 4:15 pm
                                                                                                                          Website:
            Workshop Category:                                                                                            http://www.feistyfoxfilms.com
            Sex As Work                                                                                                   (http://www.feistyfoxfilms.com)
            (https://www.sexualfreedomsummit.org/w
            orkshops/category/sex-as-work/)




    Related Workshops




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